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                         Exhibit 21
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    From:               Ross, David E.
    To:                 Magee, Jessica B (DFW - X61375); Englander, Alex M (WPB - X28339); Mascianica, Scott (DAL - X62106); Yarm,
                        Alexander R.
    Cc:                 Gottlieb, Jason
    Subject:            RE: SEC v. Digital Licensing - Urgent Call
    Date:               Thursday, August 24, 2023 5:53:18 PM
    Attachments:        image001.png
                        12. RFP 12 Assignment of interest in Purdy Farms #1 Well (PU-RPD-#12-001-0035).pdf


    Thanks. We need to discuss this document.



    David E. Ross
    Partner
    T: 212.735.8841 | F: 917.522.9941
    dross@morrisoncohen.com
    vCard| Bio| LinkedIn

    Morrison Cohen LLP
    909 Third Avenue
    27th Floor
    New York, NY 10022
    www.morrisoncohen.com

    -------- Original message --------
    From: "Magee, Jessica B (DFW - X61375)" <Jessica.Magee@hklaw.com>
    Date: 8/24/23 5:29 PM (GMT-05:00)
    To: "Englander, Alex M (WPB - X28339)" <Alex.Englander@hklaw.com>, "Ross, David E."
    <dross@morrisoncohen.com>, "Mascianica, Scott (DAL - X62106)"
    <Scott.Mascianica@hklaw.com>, "Yarm, Alexander R." <ayarm@morrisoncohen.com>
    Cc: "Gottlieb, Jason" <jgottlieb@morrisoncohen.com>
    Subject: RE: SEC v. Digital Licensing - Urgent Call

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    Thank you Alex and David—Scott and I will monitor in the background this evening as you/your
    clients proceed with test and—hopefully, if successful—substantive transfer transactions.


    From: Englander, Alex M (WPB - X28339) <Alex.Englander@hklaw.com>
    Sent: Thursday, August 24, 2023 4:27 PM
    To: Magee, Jessica B (DFW - X61375) <Jessica.Magee@hklaw.com>; dross
    <dross@morrisoncohen.com>; Mascianica, Scott (DAL - X62106) <Scott.Mascianica@hklaw.com>;
    ayarm <ayarm@morrisoncohen.com>
    Cc: jgottlieb <jgottlieb@morrisoncohen.com>
    Subject: RE: SEC v. Digital Licensing - Urgent Call

    We are available. Thank you, David.
Case 2:23-cv-00482-RJS-DBP Document 132-21 Filed 09/12/23 PageID.2679 Page 3 of 48




    Alex Englander | Holland & Knight
    Associate
    Holland & Knight LLP
    777 South Flagler Drive, Suite 1900, West Tower | West Palm Beach, Florida 33401
    Phone 561.650.8339 | Fax 561.650.8399
    alex.englander@hklaw.com | www.hklaw.com
    ________________________________________________
    Add to address book | View professional biography



    From: Magee, Jessica B (DFW - X61375) <Jessica.Magee@hklaw.com>
    Sent: Thursday, August 24, 2023 5:07 PM
    To: dross <dross@morrisoncohen.com>; Mascianica, Scott (DAL - X62106)
    <Scott.Mascianica@hklaw.com>; Englander, Alex M (WPB - X28339) <Alex.Englander@hklaw.com>;
    ayarm <ayarm@morrisoncohen.com>
    Cc: jgottlieb <jgottlieb@morrisoncohen.com>
    Subject: RE: SEC v. Digital Licensing - Urgent Call

    David, please stand by and we will let you know if 6pm ET today will work. If so, and assuming tests
    succeed, can we follow this evening with the substantive transfers? Will get back with you
    momentarily.


    From: Ross, David E. <dross@morrisoncohen.com>
    Sent: Thursday, August 24, 2023 4:02 PM
    To: Mascianica, Scott (DAL - X62106) <Scott.Mascianica@hklaw.com>; Englander, Alex M (WPB -
    X28339) <Alex.Englander@hklaw.com>; ayarm <ayarm@morrisoncohen.com>
    Cc: jgottlieb <jgottlieb@morrisoncohen.com>; Magee, Jessica B (DFW - X61375)
    <Jessica.Magee@hklaw.com>
    Subject: RE: SEC v. Digital Licensing - Urgent Call

    [External email]
    Thanks Scott! Can we either do 6:00 pm my time or tomorrow after 12:45?




    David E. Ross
    Partner
    T: 212.735.8841 | F: 917.522.9941
    dross@morrisoncohen.com
    vCard| Bio| LinkedIn

    Morrison Cohen LLP
    909 Third Avenue
    27th Floor
    New York, NY 10022
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    -------- Original message --------
    From: "Mascianica, Scott (DAL - X62106)" <Scott.Mascianica@hklaw.com>
    Date: 8/24/23 2:40 PM (GMT-05:00)
    To: "Ross, David E." <dross@morrisoncohen.com>, "Englander, Alex M (WPB - X28339)"
    <Alex.Englander@hklaw.com>, "Yarm, Alexander R." <ayarm@morrisoncohen.com>
    Cc: "Gottlieb, Jason" <jgottlieb@morrisoncohen.com>, "Magee, Jessica B (DFW - X61375)"
    <Jessica.Magee@hklaw.com>
    Subject: RE: SEC v. Digital Licensing - Urgent Call


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    Thanks, David. Good luck with the scrambling. We’ll be on standby.


    From: Ross, David E. <dross@morrisoncohen.com>
    Sent: Thursday, August 24, 2023 1:32 PM
    To: Mascianica, Scott (DAL - X62106) <Scott.Mascianica@hklaw.com>; Englander, Alex M (WPB -
    X28339) <Alex.Englander@hklaw.com>; ayarm <ayarm@morrisoncohen.com>
    Cc: jgottlieb <jgottlieb@morrisoncohen.com>; Magee, Jessica B (DFW - X61375)
    <Jessica.Magee@hklaw.com>
    Subject: RE: SEC v. Digital Licensing - Urgent Call

    [External email]
    Scott,
    Be back to you shortly with a time. Apologies for the delay buy my wife is away for the day and our
    babysitter canceled so I am scrambling!




    David E. Ross
    Partner
    T: 212.735.8841 | F: 917.522.9941
    dross@morrisoncohen.com
    vCard| Bio| LinkedIn

    Morrison Cohen LLP
    909 Third Avenue
    27th Floor
    New York, NY 10022
    www.morrisoncohen.com
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    -------- Original message --------
    From: "Mascianica, Scott (DAL - X62106)" <Scott.Mascianica@hklaw.com>
    Date: 8/24/23 12:56 PM (GMT-05:00)
    To: "Ross, David E." <dross@morrisoncohen.com>, "Englander, Alex M (WPB - X28339)"
    <Alex.Englander@hklaw.com>, "Yarm, Alexander R." <ayarm@morrisoncohen.com>
    Cc: "Gottlieb, Jason" <jgottlieb@morrisoncohen.com>, "Magee, Jessica B (DFW - X61375)"
    <Jessica.Magee@hklaw.com>
    Subject: RE: SEC v. Digital Licensing - Urgent Call


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    David-

    Hope you are well. Regarding the transfer process below, can you confirm a time for today to
    execute the test transaction? Once those are completed, we can move to the complete transfers.

    Many thanks.

    Scott Mascianica | Holland & Knight
    Partner
    Holland & Knight LLP
    One Arts Plaza, 1722 Routh Street, Suite 1500 | Dallas, Texas 75201
    Phone 214.969.2106 | Fax 214.964.9501
    scott.mascianica@hklaw.com | www.hklaw.com
    ________________________________________________
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    From: Ross, David E. <dross@morrisoncohen.com>
    Sent: Tuesday, August 22, 2023 5:31 PM
    To: Mascianica, Scott (DAL - X62106) <Scott.Mascianica@hklaw.com>; Englander, Alex M (WPB -
    X28339) <Alex.Englander@hklaw.com>; ayarm <ayarm@morrisoncohen.com>
    Cc: jgottlieb <jgottlieb@morrisoncohen.com>; Magee, Jessica B (DFW - X61375)
    <Jessica.Magee@hklaw.com>
    Subject: RE: SEC v. Digital Licensing - Urgent Call

    [External email]
    Scott,
    Thank you. As always, we will be diligently and expeditiously back to you concerning your requests
    and, inter alia, the additional information/handoff process/executions you are seeking below. In that
    regard, we are simultaneously in the process of working with you on those points while diligently
    providing granular, detailed information to both you and counsel for the SEC. We will continue to do
    so as quickly as possible. I do note that we do not necessarily agree with some of your
    characterizations below but appreciate us continuing to work together amicably.
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    Be back to you shortly,
    -Dave

    David E. Ross
    Partner
    T: 212.735.8841 | F: 917.522.9941
    dross@morrisoncohen.com
    vCard| Bio| LinkedIn

    Morrison Cohen LLP
    909 Third Avenue
    27th Floor
    New York, NY 10022
    www.morrisoncohen.com


    From: Mascianica, Scott (DAL - X62106) <Scott.Mascianica@hklaw.com>
    Sent: Tuesday, August 22, 2023 6:04 PM
    To: Ross, David E. <dross@morrisoncohen.com>; Englander, Alex M (WPB - X28339)
    <Alex.Englander@hklaw.com>; Yarm, Alexander R. <ayarm@morrisoncohen.com>
    Cc: Gottlieb, Jason <jgottlieb@morrisoncohen.com>; Magee, Jessica B (DFW - X61375)
    <Jessica.Magee@hklaw.com>
    Subject: RE: SEC v. Digital Licensing - Urgent Call


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    David,

    Our team has reviewed the list of digital asset address disclosures provided by your clients. The
    outline below sets forth the protocol to transfer the assets into the Receiver’s control. This protocol
    was designed to be secure (removing the need to share private keys at this time) and to be as
    respectful of your clients’ time as possible while allowing them flexibility in the handoff. More
    specifically, this follows the process previously outlined but for some additional facets that should
    make transfer easier for your clients.

    1.        The attached manifest includes the addresses that were disclosed by your clients and the
             digital assets we are ready to receive. Please note that, at this time, we are not seeking
             turnover of the tokens native to the DEBT ecosystem. For this reason, private keys do not
             need to be turned – only the assets on the manifest.

    2.       Listed on the manifest are the addresses to which each asset should be sent.

    3.       We need a test transaction be completed for each blockchain. Once we confirm receipt,
    the transfer can proceed.

    4.       For the exchanges, in addition to the turnover, we request the log-in information be
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    provided in the file located in this secure data room:   Morrison Cohen - H&K Data Room

    5.       At this time, because we are not seeking the transfer of any DEBT ecosystem tokens,
    transfer of the domestic hardware keys is not necessary.

    6.        Upon conclusion of the transfers, BDO will provide a receipt/inventory of the assets.

    7.        For NDAU, we will have a custody solution shortly.

    Regarding the hardware you reference in your email below, we appreciate your acknowledgement
    that your clients failed to identify these DLI wallets, which currently contain approximately $2.4
    million in USD equivalent. We are prepared to execute a transfer of the hardware and associated
    pins to the Receiver’s custody later this week or next in Abu Dhabi. Please let us know some dates
    later this week or next so we can execute. To obviate the need for this type of back-and-forth going
    forward, we (again) request identification of all wallets in your clients’ possession, custody, or
    control as required by the court’s order in the updated inventory.

    Finally, we appreciate the log-in credentials to access the coding. We are reviewing and will follow-
    up. More broadly, on Saturday, we provided a list of outstanding information we need to receive
    from your clients. We separately followed up yesterday (see attached). We have not heard back.
    Please advise on a proposed timeline for your clients to comply with these requests.

    Thanks.

    Scott Mascianica | Holland & Knight
    Partner
    Holland & Knight LLP
    One Arts Plaza, 1722 Routh Street, Suite 1500 | Dallas, Texas 75201
    Phone 214.969.2106 | Fax 214.964.9501
    scott.mascianica@hklaw.com | www.hklaw.com
    ________________________________________________
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    From: Ross, David E. <dross@morrisoncohen.com>
    Sent: Monday, August 21, 2023 6:17 PM
    To: Mascianica, Scott (DAL - X62106) <Scott.Mascianica@hklaw.com>; Englander, Alex M (WPB -
    X28339) <Alex.Englander@hklaw.com>; Yarm, Alexander R. <ayarm@morrisoncohen.com>
    Cc: Gottlieb, Jason <jgottlieb@morrisoncohen.com>; Magee, Jessica B (DFW - X61375)
    <Jessica.Magee@hklaw.com>
    Subject: RE: SEC v. Digital Licensing - Urgent Call

    [External email]
    Scott, Jessica and Alex,
    Thank you for the call earlier this afternoon. We have investigated your allegations of malfeasance,
    and we believe that they are incorrect.
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    Specifically, it is our understanding that our clients have not moved or caused to be moved any
    tokens and therefore the recent transactions you raised on our call today are not attributable to
    them. While you did not provide specific information that would allow us to further investigate the
    circumstances surrounding these transactions, other than that they do not involve our clients, it is
    our firm belief that any and all sells to Binance or any other exchanges to cash out liquidity are
    attributable to third parties as standard status quo.
    As to the additional wallets you raised on our call today, as you noted, numerous wallets are
    disclosed in the lite papers, which are public and well-announced. These are automated wallets that
    are part of the ecosystem and function pursuant to code associated with the smart contracts that
    has been in place well before the TRO. These internal wallets have no seed phrases and are part of
    the “tokenomics”m NOT a value of assets that can be sold. A flow chart is attached (first attachment)
    further describing these wallets and how they automatically function within the ecosystem. Included
    in the flow chart are login credentials for AWS, the software hosting the code for these
    programmable wallets, so you can verify the same. We have also included the login credentials
    below for your convenience.
    Sign-in URL: https://282669548153.signin.aws.amazon.com/console
    User name: receiver
    Password: v{We7}Pr
    I also attach a response to Alex Englander’s request from 3:40 p.m. concerning the wallets at issue
    (second attachment). As you will see, all but four of the fifty eight wallet addresses are associated
    with automated wallets described above. As to the other four addresses, after investigation by our
    clients, it appears they are associated with three hardware wallets belonging to DCH (one is a
    multifunctional wallet with two IDs, hence the four addresses). These hardware wallets are currently
    located in Abu Dhabi and will need to be physically retrieved and turned over along with the PINs
    allowing access to the same. Our clients are of course willing to work with the receiver to coordinate
    logistics for a turnover in compliance with the TRO. In addition, it is our understanding that, like all
    other wallets controlled by our clients (i.e., not programmed wallets operating automatically under
    pre-existing code), no assets have been transferred to or from these hard wallets since the TRO went
    into effect. Our clients are updating the inventory previously provided to include these wallets.
    To be crystal clear: (1) none of the transactions you raised are being or were initiated by or on
    behalf of our clients; (2) none of the assets involved in these transactions belong to our clients; and
    (3) these assets have not nor will they be distributed to our clients, their family, or anyone else for
    our clients’ benefit.
    At bottom, your allegations of malfeasance are meritless and belied by the facts and the
    documentary evidence.
    We will be happy to discuss as soon as you have a moment.
    Thanks,
    -Dave

    David E. Ross
    Partner
    T: 212.735.8841 | F: 917.522.9941
    dross@morrisoncohen.com
    vCard| Bio| LinkedIn

    Morrison Cohen LLP
Case 2:23-cv-00482-RJS-DBP Document 132-21 Filed 09/12/23 PageID.2685 Page 9 of 48


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    27th Floor
    New York, NY 10022
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    From: Ross, David E.
    Sent: Monday, August 21, 2023 5:37 PM
    To: 'Mascianica, Scott (DAL - X62106)' <Scott.Mascianica@hklaw.com>; Englander, Alex M (WPB -
    X28339) <Alex.Englander@hklaw.com>; Yarm, Alexander R. <ayarm@morrisoncohen.com>
    Cc: Gottlieb, Jason <jgottlieb@morrisoncohen.com>; Magee, Jessica B (DFW - X61375)
    <Jessica.Magee@hklaw.com>
    Subject: RE: SEC v. Digital Licensing - Urgent Call

    Scott,
    You will have a written response very shortly. We believe that this response will show that your
    allegations of malfeasance are unwarranted.
    Thanks,
    -Dave

    David E. Ross
    Partner
    T: 212.735.8841 | F: 917.522.9941
    dross@morrisoncohen.com
    vCard| Bio| LinkedIn

    Morrison Cohen LLP
    909 Third Avenue
    27th Floor
    New York, NY 10022
    www.morrisoncohen.com


    From: Mascianica, Scott (DAL - X62106) <Scott.Mascianica@hklaw.com>
    Sent: Monday, August 21, 2023 5:05 PM
    To: Englander, Alex M (WPB - X28339) <Alex.Englander@hklaw.com>; Ross, David E.
    <dross@morrisoncohen.com>; Yarm, Alexander R. <ayarm@morrisoncohen.com>
    Cc: Gottlieb, Jason <jgottlieb@morrisoncohen.com>; Magee, Jessica B (DFW - X61375)
    <Jessica.Magee@hklaw.com>
    Subject: RE: SEC v. Digital Licensing - Urgent Call


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    David/Jason-

    Please update. As noted during the call, time is of the essence here.
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                                      48

   Thank you.

   Scott Mascianica | Holland & Knight
   Partner
   Holland & Knight LLP
   One Arts Plaza, 1722 Routh Street, Suite 1500 | Dallas, Texas 75201
   Phone 214.969.2106 | Fax 214.964.9501
   scott.mascianica@hklaw.com | www.hklaw.com
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   From: Englander, Alex M (WPB - X28339) <Alex.Englander@hklaw.com>
   Sent: Monday, August 21, 2023 2:39 PM
   To: Ross, David E. <dross@morrisoncohen.com>; Yarm, Alexander R. <ayarm@morrisoncohen.com>
   Cc: Gottlieb, Jason <jgottlieb@morrisoncohen.com>; Magee, Jessica B (DFW - X61375)
   <Jessica.Magee@hklaw.com>; Mascianica, Scott (DAL - X62106) <Scott.Mascianica@hklaw.com>
   Subject: RE: SEC v. Digital Licensing - Urgent Call

   David and Alex,

   Thank you for speaking with us earlier. Attached, please find a chart of some of the addresses known
   to belong to your clients that were not disclosed.

   We do not require your clients’ inventory on the contents of addresses as they provided in the prior
   disclosure.

   Thank you,
   Alex Englander | Holland & Knight
   Associate
   Holland & Knight LLP
   777 South Flagler Drive, Suite 1900, West Tower | West Palm Beach, Florida 33401
   Phone 561.650.8339 | Fax 561.650.8399
   alex.englander@hklaw.com | www.hklaw.com
   ________________________________________________
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   From: Magee, Jessica B (DFW - X61375) <Jessica.Magee@hklaw.com>
   Sent: Monday, August 21, 2023 12:21 PM
   To: Ross, David E. <dross@morrisoncohen.com>; Mascianica, Scott (DAL - X62106)
   <Scott.Mascianica@hklaw.com>; Gottlieb, Jason <jgottlieb@morrisoncohen.com>
   Cc: Englander, Alex M (WPB - X28339) <Alex.Englander@hklaw.com>; Yarm, Alexander R.
   <ayarm@morrisoncohen.com>
   Subject: RE: SEC v. Digital Licensing - Urgent Call

   I would appreciate it, Jason, if you adjust your schedule to attend this meeting. We need to provide
   you important information about digital asset wallets and immediate next steps. Time is of the
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   essence and your familiarity will be helpful. If not, David and Alex please be prepared to take
   detailed notes so you can take prompt action without delay after we speak.

   Thanks,
   JM


   From: Ross, David E. <dross@morrisoncohen.com>
   Sent: Monday, August 21, 2023 11:10 AM
   To: Mascianica, Scott (DAL - X62106) <Scott.Mascianica@hklaw.com>; Gottlieb, Jason
   <jgottlieb@morrisoncohen.com>
   Cc: Magee, Jessica B (DFW - X61375) <Jessica.Magee@hklaw.com>; Englander, Alex M (WPB -
   X28339) <Alex.Englander@hklaw.com>; Yarm, Alexander R. <ayarm@morrisoncohen.com>
   Subject: RE: SEC v. Digital Licensing - Urgent Call

   [External email]
   I can join. Jason unfortunately cannot. I believe Alex can join.




   David E. Ross
   Partner
   T: 212.735.8841 | F: 917.522.9941
   dross@morrisoncohen.com
   vCard| Bio| LinkedIn

   Morrison Cohen LLP
   909 Third Avenue
   27th Floor
   New York, NY 10022
   www.morrisoncohen.com




   -------- Original message --------
   From: "Mascianica, Scott (DAL - X62106)" <Scott.Mascianica@hklaw.com>
   Date: 8/21/23 12:01 PM (GMT-05:00)
   To: "Gottlieb, Jason" <jgottlieb@morrisoncohen.com>, "Ross, David E."
   <dross@morrisoncohen.com>
   Cc: "Magee, Jessica B (DFW - X61375)" <Jessica.Magee@hklaw.com>, "Englander, Alex M (WPB -
   X28339)" <Alex.Englander@hklaw.com>
   Subject: SEC v. Digital Licensing - Urgent Call


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   Jason and David-
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                                      48


   We have an urgent matter to discuss with you. We will circulate a dial-in for 1 PM ET/12 PM CT.
   Given the time sensitive nature, we request that at least one of you (preferably both) join.

   Many thanks.

   Scott Mascianica | Holland & Knight
   Partner
   Holland & Knight LLP
   One Arts Plaza, 1722 Routh Street, Suite 1500 | Dallas, Texas 75201
   Phone 214.969.2106 | Fax 214.964.9501
   scott.mascianica@hklaw.com | www.hklaw.com
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